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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                  Hon. Robert J. Jonker
 v.
                                                                  Case No. 1:20-cr-00183
 ADAM DEAN FOX,
 BARRY GORDON CROFT, JR.,
 KALEB JAMES FRANKS,
 DANIEL JOSEPH HARRIS, and
 BRANDON MICHAEL-RAY CASERTA,

        Defendants.
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                                           ORDER

       This matter is before the Court on Defendant Brandon Caserta’s Motion to Compel

Discovery (ECF. No. 225) and Defendant Kaleb Franks’s Motion for Disclosure of All Records

Related to Confidential Human Sources (ECF No. 258). For the reasons stated on the record at the

hearing held September 2, 2021, both motions are denied.

       IT IS SO ORDERED.

Dated: September 2, 2021                                    /s/ Sally J. Berens
                                                           SALLY J. BERENS
                                                           U.S. Magistrate Judge
